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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


HE DEPU, et al.,

                       Plaintiffs,
                                                                 Case No. 17-0635 (RDM)
                v.
                                                                 Judge Randolph D. Moss
OATH HOLDINGS, INC., et al.,

                       Defendants.


                              DECLARATION OF TIMES WANG

       I, Times Wang, declare as follows:

       1.      I am over the age of 18 and am competent to testify as to all matters herein.

       2.      I make the following statements based on my personal knowledge.

       3.      I am a partner at Farra & Wang PLLC. I have served as lead counsel in the above-

captioned matter since its inception.

       4.      I submit this declaration in support of the plaintiffs’ motion for an award of

attorneys’ fees, expense reimbursement, and service awards for the individual plaintiffs.

       5.      Based on my experience litigating this case since its inception and my experience

litigating other complex litigation in the areas of antitrust, securities, and human rights, the

plaintiffs’ requests for attorneys’ fees, expense reimbursement, and service awards are

reasonable.

       6.      As described in further detail below, this was a hard-fought multi-defendant

litigation. The defendants were represented by, among others, major law firms in O’Melveny and

(later) McGuireWoods. The case had multiple rounds of motion to dismiss briefing, went

through an appeal to the D.C. Circuit, had significant discovery (including from multiple


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nonparties), underwent two in-person mediation sessions that were preceded by substantial

mediation statements, proceeded completely through fact and expert discovery, had a pending

motion for summary judgment as to one defendant, and involved a total of seven testifying

experts on forensic accounting, damages, trustee custom and practice, and Chinese law and the

Chinese legal system. The corresponding investment of time and expenses was both significant

and appropriate, and the requests for attorneys’ fees, expenses, and service awards are reasonable

in light of the investment.

       A.      The Origination, Litigation, and Resolution of the Case

       7.      When a group of Chinese dissidents first managed to contact me in 2016, I began

working with them to investigate their allegations concerning the management of the Yahoo

Human Rights Fund, assessing what their causes of action might be, and analyzing their

likelihood of success. I determined that the Yahoo Human Rights Fund was almost certainly a

trust; that one of its purposes, if not its primary purpose, was to provide humanitarian aid to

imprisoned Chinese dissidents; and that, based on publicly available information, that purpose

had been breached. At the time, I was an attorney at Cohen Milstein Sellers & Toll PLLC.

       8.      The initial complaint was filed in April 2017, which was later amended. After

motion to dismiss briefing, the Court (Bates, J.) in 2018 dismissed the litigation in its entirety,

denied the plaintiffs’ motion to alter or amend the judgment, and denied the plaintiffs’ motion to

file a Second Amended Complaint.

       9.      After assessing the likelihood of success on appeal, the plaintiffs agreed to pursue

an appeal. Around the same time, I decided to leave Cohen Milstein to start my own law firm.

The plaintiffs continued the suit with me as their lead counsel, and Cohen Milstein withdrew

from the litigation.



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       10.       On appeal, I represented the plaintiffs as a solo practitioner. Over the course of

2019, I briefed and argued the plaintiffs’ position to the U.S. Court of Appeals for the District of

Columbia Circuit. In February 2020, the D.C. Circuit ruled in the plaintiffs’ favor and reversed

the dismissal.

       11.       On remand, Slarskey LLC joined me as co-counsel to help with the litigation. The

plaintiffs then amended the complaint to account for the fact that not all of the original plaintiffs

and claims had been part of the appeal, and the defendants filed new motions to dismiss, as well

as a request to stay discovery pending the resolution of those motions. Over the plaintiffs’

objections, the latter request was granted. The defendants’ renewed motions to dismiss, however,

were eventually largely denied, in March 2021.

       12.       Concerned about the dissipation of the Yahoo Human Rights Fund’s assets, the

plaintiffs then filed a motion for a preliminary injunction. Around the same time, the parties

agreed to bifurcate the case to first resolve the critical issue of whether there was an enforceable

trust over the fund’s assets in the first place. The plaintiffs’ request for a preliminary injunction

was denied, while a bench trial on the existence of a trust was held in October 2021. In May

2022, the Court ruled that the plaintiffs had proven the existence of a trust. The case then

proceeded to full merits discovery.

       13.       The parties also discussed mediation and a potential settlement, and a stay was

entered to facilitate that discussion. In May 2023, the parties attended an all-day, in-person

mediation presided over by retired U.S. District Judge Walter Kelley (E.D. Va.). The mediation

was unsuccessful, and discovery resumed.




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       14.     The plaintiffs also sought leave to amend the complaint, including to add a new

defendant. Leave was granted in April 2024, after which the defendants filed a new round of

motions to dismiss.

       15.     Fact discovery closed in September 2024. By then, the parties had conducted 13

fact depositions; issued 8 non-party subpoenas; exchanged over 11,000 documents, totaling more

than 120,000 pages; and answered dozens of interrogatories, including lengthy contention

interrogatories.

       16.     The parties then commenced expert discovery. The plaintiffs produced four expert

reports on the topics of: (1) forensic accounting; (2) damages; (3) the number of potential

beneficiaries of the trust, which was relevant to special interest standing; and (4) in rebuttal, the

relative ease or difficulty of safely transferring money from the United States to Chinese

dissidents. The defendants produced three experts reports on the topics of: (1) forensic

accounting and damages (the defendants used a single expert for these topics); (2) the number of

potential beneficiaries; and (3) the defendants’ compliance with their fiduciary duties. The

plaintiffs elected not to depose the defendants’ experts. The defendants deposed all the plaintiffs’

experts.

       17.     Around the same time, defendant Michael Callahan also filed a motion for

summary judgment, which the parties fully briefed.

       18.     The parties then agreed to conduct a second in-person mediation before Judge

Kelley in February 2025. At that mediation, the parties reached an agreement in principle to

settle the litigation for, among other things, $5,425,000. This was more than ten times the

amount that the plaintiffs’ forensic accountant determined had been spent on the humanitarian

purpose up to then. It was also more than the low end of the damages range calculated by the



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plaintiffs’ damages expert ($4.98 million) and more than a third of the high end of that range

($14.7 million), excluding prejudgment interest.

       19.     Meanwhile, there were considerable risks. The fact that the plaintiffs are under

Chinese government surveillance and cannot freely travel posed practical and legal challenges.

The litigation was draining the very assets that the plaintiffs were trying to recover. The main

antagonist in the case, Harry Wu, and arguably the most important witness, had died in 2016.

The plaintiffs were advancing legal and factual theories that had not been tested before, and risks

remained as to many basic questions, including whether the plaintiffs even had standing under

charitable trust law to pursue the case at all. And even if the plaintiffs overcame all of this at

trial, the defendants would almost certainly have appealed, and it would have been years before

any money would’ve been paid.

       B.      The Request for Attorneys’ Fees

       20.     At the direction of the plaintiffs, the plaintiffs’ attorneys are requesting a fee

award in the amount of 30% of the $5,425,000 million settlement fund.

       21.     The plaintiffs have repeatedly emphasized to me their belief that I was the only

lawyer who could have successfully brought this lawsuit on their behalf, and that, but for my

representation of them, there would have been no recovery at all. Indeed, had I not agreed to

handle their appeal, it is unlikely they would have found any other lawyer willing and able to do

so, in which case the lawsuit would indeed have ended with no recovery. However, because I

had taken the time to study the governing trust law principles, and because of my understanding

of and concern for Chinese legal issues generally and Chinese human rights issues specifically, I

was determined to handle the appeal, and to see the litigation through.

       22.     I have reviewed the detailed time records of the two firms submitting the request

for fees and expenses, Farra & Wang PLLC and Slarskey LLC.
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       23.      Together, the two firms spent 3,302.71 hours litigating this matter.

       24.      Using the firms’ respective current hourly rates, the dollar value of the time spent

by the plaintiffs’ attorneys in litigating this matter (the lodestar) is $2,333,361.52.

       25.      The breakdown of time is reflected in the following chart:

Timekeeper        Title                                Lawyer Since          Rate Hours Lodestar
Times Wang        Partner / Farra & Wang PLLC          2011 (NYU)             $ 748 2244.75 $ 1,679,073.00
Adam Farra        Partner / Farra & Wang PLLC          2011 (Maryland)        $ 748 512.24 $ 383,155.52
Ti-Anna Wang      Counsel / Farra & Wang PLLC          2017 (McGill)          $ 400 269.12 $ 107,648.00
Hind Al Aissi     Associate / Slarskey LLC             2020 (Columbia - LLM) $ 550 103.50 $ 56,925.00
David Slarskey    Partner / Slarskey LLC               2005 (Stanford)        $ 850   79.90 $ 67,915.00
Samuel Dayan      Summer Associate / Slarskey LLC      2022 (NYU)             $ 400   55.40 $ 22,160.00
Stephen McGuiness Staff Attorney / Farra & Wang PLLC   2007 (Harvard)         $ 165    19.5 $     3,217.50
Evan Fried        Partner / Slarskey LLC               2011 (NYU)             $ 725   18.30 $ 13,267.50
                                                                                    3302.71 $ 2,333,361.52

       26.      In calculating the lodestar value of the attorney time, the rates used were the

firms’ current rates.

       27.      The rates are reasonable. First, they reflect rates that the two firms charge their

clients who pay by the hour, reflecting current market demand for those rates. Based on my

experience, the rates are also in accord with rates charged by litigators of similar experience at

law firms based in Washington, D.C. and New York City (where Farra & Wang PLLC and

Slarskey LLC are based, respectively).

       28.      Second, the rates are lower than the current “LSI Laffey Matrix,” which courts in

this district have used for making awards under various fee-shifting statutes. See LSI Laffey

Matrix, http://www.laffeymatrix.com/see.html (date accessed: March 31, 2025) (providing that

the rate for lawyers with 11-19 years of experience is $948 per hour).

       29.      The total lodestar does not include (1) time recorded after February 20, 2025,

which is when the parties reached an agreement in principle to settle the litigation, or (2) time

recorded by Cohen Milstein. With respect to the former category, I have reviewed my firm’s


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time records and the time spent on this litigation after February 20, 2025—negotiating the

particulars of the settlement agreement, revising the draft motions related to settlement approval,

drafting and preparing the motion for attorneys’ fees, expenses, and service awards—constitutes

an additional $73,229.20 in lodestar value (as of April 14). I estimate that there will be another

$15,000 in time spent in service of the litigation, attending the hearing on approval of the

settlement and finalizing distribution of the settlement funds.

       C.      The Request for Expense Reimbursement

       30.     The plaintiffs also request that the expenses they incurred in litigating this case be

reimbursed from the settlement proceeds.

       31.     In preparing this declaration and the accompanying motion, I reviewed the

expenses incurred for this litigation. The expenses are generated from the books and records of

my firm (Farra & Wang PLLC), Slarskey LLC, and predecessor counsel Cohen Milstein.

       32.     I have categorized the expenses using the Uniform Task-Based Management

System (UTBMS) codes for expenses developed by the American Bar Association, the

Association of Corporate Counsel, and PricewaterhouseCoopers. The expenses were as follows:




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                            Category                     Total
                            Court fees                    $ 3,061.54
                            Delivery services/messengers $ 2,059.50
                            Experts                       $ 102,560.50
                            Litigation support vendors    $ 45,028.12
                            Local travel                  $     148.36
                            Meals                         $ 1,321.45
                            Online research               $ 11,901.81
                            Other                         $     263.60
                            Out-of-town travel            $ 10,472.91
                            Outside printing              $ 1,596.67
                            Postage                       $      30.68
                            Subpoena fees                 $ 4,339.02
                            Telephone                     $     111.71
                            Trial transcripts             $      54.90
                                                          $ 182,950.77

        33.     I believe these expenses were reasonable. The plaintiffs’ counsel frequently

obtained multiple bids for significant expenses, worked with more junior testifying experts to

mitigate expert costs, avoided incurring unnecessary expenses, negotiated with vendors to ensure

that expenses were competitively priced, and closely monitored the expenses to avoid

unexpected costs.

        34.     I believe these expenses were reasonable, necessary, and expended for the benefit

of the plaintiffs and the Trust in this litigation.

        D.      The Request for Incentive or Service Awards to the Plaintiffs

        35.     The plaintiffs’ participation merits individual awards because their initiative was

critical to achieving the result.

        36.     They began investigating the underlying misconduct more than ten years ago and

have been highly effective plaintiffs since. They were responsive in communications with

counsel. They dutifully complied with their discovery obligations, producing documents and

working with counsel to answer interrogatories. They were served with notices of deposition and

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attended lengthy deposition preparation meetings, and three had their depositions taken. They

have collectively spent thousands of hours on this case. Because of the time difference, many of

those hours were odd hours. Further, the plaintiffs are in far-flung places and under constant

surveillance by a foreign government, and so their continued participation in the litigation was a

growing risk the longer the case went on. They deserve significant individual awards for their

contributions to this result.

        I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

 Executed on: April 15, 2025                         / s / Times Wang
                                                     Times Wang




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